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Unitcd Stntes District Court
Centrsl District of Cnlifornio

 

 

UNITED STATES OF AMER'|CA vs. Dockct No. CR OB-QSS-RHW
Det`endsnt Dsnt'e Nocl Oroilla Sociui Sccurity No. __l_ 1 4 l
akas: None (Lcst 4 digits)

 

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MONTH DAY YEAR

 

 

 

ln the presence oftl'te attorney for the go\»'ernrncntl the defendant appeared in person on this datc. 06 23 2010
CG‘UNSE.L l Wl'I`!-l COUNSEL Michael Nasstir (Retained)

 

{Name ot` Counsel)

PLEA g CUILTY, and the court being satisfied that there is n factual basis for the plug NOLO |:1 NQT
CONTENDERE GU[LT\!

FINDING l Therc being n finding/verdict ofE GUILTY, defendant has been convicted as charged of the offense(s) of:
21 U.S.C. §Sdl(b](l) and (b){l){A]{ii): Fossdssion with Intcnt to Distributc Coceine (SlngIe-Counl Indicttncnt), Class A
Felony
The Court asked whether defendant had anythinth say why_judgmcntshculd not be pronounced Becnuse no sufficient cause
to the contrary was shown, or appearcd to the Court, the Court adjudged thc defendant guilty us charged and convicted end
ordered that: Ptusuant to thc Sentencing Ret"crm Act of 1984, it is the judgment of the Court that the defendant is hereby
committed to the custody of thc Attorney Gcneral or his authorized representative for imprisonment for s tenn of :

 
   

JUDG MENT
AND PROB!
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ORD 'E.R

 
  

27 months Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
5 years under the following terms and conditions:

l. Thc defendant shall comply with the rules and regulations of the U. S. Probation
Oliice and General Orcler 318;

l\.)

During the period of community supervision the defendant shall pay the special
assessment in accordance with this judgments orders pertaining to such payment;

3. 'l'he defendant shall reii'nin from any unlawful use of s controlled substance Thc
defendant shall submit to one drug test within 15 days of release from imprisonment
and periodic drug tests thereafter not to exceed six, as directed by the Probation
Of`flcer;

4. 'I'lie defendant shall participate in an outpatient substance abuse treatment and
counseling program that includes urinalysis, salch andfor sweat porch testing 35
directed by the Probation Of`iicer. The defendant shall abstain from using illicit
drugs, clcohol, and abusing proscription medications during the period of
supervision;

5. During thc course of supervision, the Probation Officcr, with thc agreement of the
defendant and defense counsel, may place the defendant in a residential drug
treatment program approved by the Unitccl Statcs Probation Oft`tcc for treatment of
narcotic addiction or drug dependency, which may include counseling and testing,

 

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to determine if the defendant has reverted to the use of drugs, and the defendant shall
reside in the treatment program until discharged by the Program Director and
Probation Offlcer;

6. As directed by the Probation Officer, the defendant shall pay all or part of the costs
of treating the defendants alcohol dependency to the aftereare contractor during the
period of community supervision, pursuant to 18 U.S.C. § 3672. The defendant shall
provide payment and proof of payment as directed by the Probation Ofticer; and

7 . The defendant shall cooperate in the collection ofa DNA sample from the defendant.

8. You shall reside in a residential reentry center for a period of up to 6 months This placement may
include a prerelease component day reporting, and horne confinement (with or without electronic
monitoring, but not to include GPS) at the directions of the CCM and U.S. PRGBATION
OFFICER. You shall abide by the rules and requirements of the facility. You shall remain at the
facility until discharged by the Ccurt.

lt is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately to the Clerk of the Court.

It is further ordered that the defendant self surrender himself to the institution designated by the Bureau of
Prisons when designated to report

While incarcerated the Court recommends defendant be given the opportunity to participate in the RDAP drug
treatment program if he is eligible pursuant to U.S. Bureau ofPrisons guidelines

The Court also recommends defendant serve his sentence at FCC Lompoc, if he is eligible pursuant to U.S.
Buresu ofPrisons guidelines

The Court advised the defendant of his right to appeal this judgment

in addition to the special conditions of supervision imposed above. lt is hereby ordered that the Standsrd Ccnditions of Probation and
Supa'vised R.elesse within this judgment be imposed 'l'he Court may change conditions of supervision, reduce or attend the period of
supervision, and at any time during the supervision period or within die l .- - y a d pertained by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.

grow / .

T"" . Distri¢t dge RDBERT H. WHALEY
lt is ordered that the Clerk deliver a copy ofthis Judgment and Probation!Cemmiunent Order to the U.S. Marshal or other qualified ofticer.

     
  

Terry 'Nai`!si, Clerk of Cuurt

7/ ali/10 ””

CR-l|ld (l l/O¢l') JUDGMENT & PROBA ONICCMMlTMENT ORDF.R Pa§= 2 ol'5

 

 

 

 

 

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USA vs. DANTE NOEL OR.PILLA Docltet No.: CR 08»9$8-RHW
Filed Dam Deputy Clerk

 

'l`he defendant shall comply with the standard conditions that have been adopted by this court (sct forth below).
S‘TANDARD CONDIT!ONS OF PROBATION AND SUPERVISED RELEASE

While the defendant is on probation or supervised release pursuant to this judgments

The defendant shall not commit another Fedeml, state or local
Cl'lml'-‘-i

the defendant shall not leave the judicial district without the
written permission of the court or probation oliicel';

the defendant shall repottto the probation oll‘icer as directed
by the court or probation oHicerand shall submit ntrutltful and

complete written report within the tirst five days of each _

month;

the defendant shell answer truthfully all inquiries by the
prfto_bation otiicer and follow the instructions of thc probation
o rcar;

the defendant shall support his or her dependents and meet
other family responsibilities;

the defendant shall work regularly at a lawful occupation
unless excused by the probation officer forschooling, trainingl
or other acceptable reasons;

the defendentshall notify the probation officer at least 10 days
prior to any change in residence or employment;

the defendant shall refrain from excessive use of alcohol end
shall not purchase, possess, use. dietributc, or administer any
narcotic or other controlled substancc, or any paraphernalia
related to such substances,exccptas prescribed by a physiciao;
the defendant shall not frequent places where controlled
substances are illegallysold, uscd, distributed or odministered;

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the defenth shall not associate with any persons engaged in
criminal activity, and shall not associate with any person
convicted ofa felony unless granted permission to do so by the
probation oliicer,
the defendant shall permits probation otiicer to visit him or
her at any time at horne or elsewhere and shall permit
confiscation of any contraband observed in plain view hythe
probation officer,
the defendant shall notify the probation officer within 72 hours
of being arrested or questioned by a law enforcement ofEeer;
the defendant shall not enter into any agreement to act as an
informer or a special agent of n law enforcement agency
without thc permission of the court;
as directed by the probation officer,the defendant shall notify
third parties of risks that moy be occasioned by the deleodant’s
criminal record orpersonal history or characteristics, and shall
permit the probation officerto make such notitications and to
conform the defendant's compliance with such notification
rcquirement;
the defendant shall, upon release from any period ofcustody,
to the probation officer within 72 hotn's;
and, for felony c_a_,ees only: not possess a Hrearm, destructive
device, or any other dangerous weapon.

l:l The defendant will also comply with the following special conditions pmsuant to Genetal Order 01»05 (sct forth below].

 

 

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JUDGMENT & FRDBAT!ON/COMM!'IMENI' ORDER

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USA vs. DANTE NOEL ORF‘\LLA Docket No.: CR 08-958-RHW

STATUTORY PROVISIONS PERTAINING TO FAYMENT AND COLLECTION OF FINANCIAL SANCT\ONS

'l'he defendant shell pay interest on a line or restitution of more than 52,500, unless the court waives interest or unless the line or
restitution is paid in full before the fliteentit (15"‘) day alter the date ofthe judgment pursuant to 18 U.S.C. §§612(£)(1). Paymentr. may be
subject to penalties for default and delinquency pursuantto 18 U.S.C, §3612(g). Intercat and penalties pertaining to restitution , howovcr, are
not applicable for offenses completed prior to April 24, 1996.

lfall or any portion of a inc or restitution ordered remains unpaid utter the termination of supervision, the defendant shall pay the
balance as directed by the United States Attorney’s OH'tce. 18 U.S.C. §3613.

'l`l\e defendant shall notify the United States Attorney within thirty (30) days of any change in the defendants mailing address or
residence until all fines, rostitution, oosts, and special assessments are paid in full. l8 U.S.C. §3612(b](l)(l-`).

Tlie dotendantshall notify the Coutt through the Probation Ot‘fice, and notify the United Stntes Attornoy of any material change in the
defendants economic circumstances that might a[[cctthe dofendant's ability to pay a fine or rostitution, as required by 18 U.S.C. §3664(k).
'l'he Court may also accept such notification from the govermnent or the viotim, and may. on its ownmocion or that oEa party or the victim,
?Jd_|;susct: tl§tgsng§t(\n;(r?¢):f payment of a lino or restimtion-pursuantto 18 U.S.C. §3664(|<). Seo also 18 U.S.C. §3572(d)(3) and for probation 18

. . . a .

Payments shall be applied in the following order:

l. Spncial usessments pursuant to 18 U.S.C. §3013;
2. Restitution, in this soquence:
Private victims (individual and corporate),
Providers of compensation to private victims,
The United States as victim:
3. Fine;
4. Cornmunity restimtion, pursuant to itt U.S.C_;. §3663©); and
5. Other penalties and costs,

SI‘ECIAL CONDITIONS FOR PRDBATION AND SUPERV[SED RELEASE

As directed by the Probation Ofticer, the defendant shall provide to the Probation Ofticer: (l) resigned release authorizingcredit report
inquiries; (2] federal and state income tax returns or o signed release authorizing their disclosure and (3) an acmtrate financial statement, with
supporting documentation as to all assets, income and expenses oftbe defendant ln addition, the defendant shall not apply for any loan or open
any line of credit without prior approval of the Probntion Officer.

'l‘he defendantshallmeintain one personal oheckingncoount. Ailofdefendant’s incomc, “rnonetarygains," orathcrpecuniary proceeds
shall be deposited into this account, which shall be used for payment of all personal expenses Recorda of all other bank aocounts. including
any business accounta, shall be disclosed to the Probation Oftioer upon request

The defendant shall not transfer, sell, give away, or otherwise convey any asset with n fair market value in excess of 5500 without
approval of the Probation Ofticor until all financial obligations imposed by the Court have been satisfied in i'ull.

Tliese conditions are in addition to any other conditions imposed by this judgment

RETURN

l have executed the within Judgment and Comrnitment as follmva:

 

 

 

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USA vs. DANTE NOEL OR.PILLA Dockct NO.: CR OE-QSS-RHW

Def"endanr delivered on go
Defencinnt noted on appeai on
Defendam released on
Mandate issued on
Defendant's appeal determined on
Def’endant delivered on to

at

the institution designated by the Bureau of Prisons, with o certified copy ofthe within Jndgment and Commitment.

 

 

 

 

 

Unitcd States Marshal

By
Daie Deputy Marsha|

 

CERTIFICATE

} hereby attest and certify this date that the foregoing document is a ful|, true and correct copy of the original on tile in my officc, and in my
egal custody.

Cloric, U.S. Disu'ict Court

BY
sued uaw oequ clerk

 

 

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FOR U.S. PROBATION OFFICE USE ONLY

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Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the leon of
supervision, and/or (3) modify the conditions ofsupervision.

Tha:e conditions have been read to mc. I fully understand the conditions and have been provided a copy of them.

(Signed)

 

Defendam Date

 

 

U. S. Probaiion Ofl'icer/Designatod Witness Dote

 

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